     Case 3:18-cv-00018-B Document 8 Filed 01/30/18                Page 1 of 10 PageID 147



                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

LIVINGSTON EMENYI                                §
                                                 §
v.                                               §    CIVIL ACTION NO. 3:18-CV-00018-B
                                                 §
U.S. BANK, N.A. AND A&R TEXAS                    §
PROPERTIES LLC                                   §


                       PLAINTIFF’S FIRST AMENDED COMPLAINT
TO THE HONORABLE JUDGE OF SAID COURT:

       COMES NOW Livingston Emenyi, Plaintiff herein, filing this his First Amended

Complaint against U.S. Bank, N.A. and A&R Texas Properties LLC, Defendants herein, and for

causes of action would respectfully show the Court as follows:

                                                 PARTIES
       1.      Livingston Emenyi is an individual who resides in Dallas County, Texas and may

be served with process on the undersigned legal counsel.

       2.      U.S. Bank, N.A. has already made an appearance in this matter.

       3.      A&R Texas Properties LLC has already made an appearance in this matter.

                                 JURISDICTION AND VENUE
       4.      The parties agree that this Court has jurisdiction and venue over the parties

as well as the subject matter of this lawsuit.

                                        RELEVANT FACTS
       5.      The subject matter of the lawsuit is the real property and the improvements thereon

located at 249 Westbury Drive, Coppell, TX 75019 (the “Property”).

       6.      Livingston Emenyi (“Emenyi”) and his wife Roseline A. Emenyi purchased the

Property on or about June 21, 2011. During the process of purchasing the Property, Emenyi

executed a Note (“Note”) in the amount of $245,000.00 as well as a Deed of Trust ("Deed of

Trust”) in which U.S. Bank, N.A. (U.S. Bank) is listed as the Lender. A true and correct copy of

the Deed of Trust is attached hereto as Exhibit “1" and incorporated herein for all purposes.
    Case 3:18-cv-00018-B Document 8 Filed 01/30/18                Page 2 of 10 PageID 148



       7.      Emenyi began to have financial difficulties in August 2017. Realizing that he

may soon become in default on his mortgage payments, Emenyi entered into debt restructuring

negotiations with U.S. Bank in order to modify the terms and conditions of his loan.

       8.    Emenyi was offered a loan modification by Nationstar during October 2017. Emenyi

submitted a complete loan modification application as well as all the required documents by

facsimile on October 29, 2017 - this was Emenyi’s first loan modification application. Emenyi

called U.S. Bank on November 1, 2017 to verify that the application had been received. A U.S.

Bank representative confirmed receipt, that the application was complete, and informed Emenyi

that a U.S. Bank supervisor would promptly review his loan modification application.

       9.      Emenyi immediately expressed his concern regarding the Notice of Acceleration

and Notice of Substitute Trustee’s Sale he received on October 14, 2017 - which was the first

notice he received regarding any type of default of his mortgage. A true and correct copy of the

Notice of Acceleration and the Notice of Substitute Trustee’s Sale is attached hereto as Exhibits

“2" and “3" respectively and incorporated herein for all purposes. The U.S. Bank representative

assured Emenyi that the deadline to submit all loss mitigation applications was November 3, 2017

in order to prevent the November 7, 2017 foreclosure sale. Therefore, because Emenyi submitted

a complete loan modification application on October 29, 2017, U.S. Bank was required to review

his loan modification application, accept or deny the application, and allow a 30 day period for

Emenyi to appeal that decision (if it was denied) before U.S. Bank could foreclose on his
Property. Further, the U.S. Bank representative stated that she was memorializing the

conversation in her notes and contemporaneously drafting an agreement to that effect which

would be signed by her supervisor and mailed to Emenyi - Emenyi continues to await that

agreement as well as an acceptance or denial of his loan modification application.

       10.     Emenyi was also receiving offers from investors to purchase his Property - a short

sale. U.S. Bank had informed Emenyi that a short sale of the Property was another option to

prevent the foreclosure sale of his Property as long as the required documents were submitted

prior to November 3, 2017. As the circumstances progressed, Emenyi decided that the more
    Case 3:18-cv-00018-B Document 8 Filed 01/30/18                  Page 3 of 10 PageID 149


options he created for himself to save his home and/or remain out of foreclosure the safer he was.

Emenyi began negotiations with one of the investment companies pursuing his Property, Christian

Consultants of Texas, LLC (“Christian Consultants”). Emenyi and Christian Consultants agreed

on a price, filled out all the documents necessary for the short sale, and sent the required

documents by facsimile to U.S. Bank on October 29, 2017 at 11:45 p.m. for approval.            Emenyi

called U.S. Bank on October 30, 2017 and a U.S. Bank representative confirmed receipt of the

documents for the short sale. A true and correct copy of the related Authorization to Furnish and

Release Information is attached hereto as Exhibit “4" and incorporated herein for all purposes.

       11.      Emenyi and Christian Consultants contacted U.S. Bank multiple times
between October 30, 2017 and November 6, 2017 requesting U.S. Bank to send the required

documents to complete the sale but U.S. Bank refused to cooperate.

       12.     On November 6, 2017, Emenyi spoke with a U.S. Bank representative,

Crystal Young (“Young”), and her supervisor, Sana Rankin (“Rankin”), who informed Emenyi

that Rankin was personally working on approving his loan modification application, that it would

be approved by the end of the day, and Rankin would cancel the foreclosure sale upon approval.

Accordingly, Emenyi contacted the Trustee responsible for conducting the foreclosure of the

Property, William G. Malcolm (“Malcolm”), on November 7, 2017 to confirm that the Property

had been pulled from the foreclosure sale but Emenyi was informed that U.S. Bank had not sent

any such notice to Malcolm.

       13.     Despite U.S. Bank’s assurances to Emenyi that they would not foreclose on his

Property while he was in loan modification status as well as the contract that was in place for a

short sale of the Property, U.S. Bank conducted a foreclosure sale of Emenyi’s Property on

November 7, 2017. A&R Texas Properties LLC purchased the Property at the foreclosure sale

and initiated eviction proceedings against Emenyi in Cause No. JE17-02849A; A&R Texas

Properties LLC v. Roseline A. Emenyi and Livingston Emenyi; In the Justice Court of Dallas

County, Texas - Precinct 3, Place 1 - scheduled to be heard on December 8, 2017 at 10:00 a.m. A

true and correct copy of the Petition for Eviction is attached hereto as Exhibit “5" and
    Case 3:18-cv-00018-B Document 8 Filed 01/30/18                   Page 4 of 10 PageID 150


incorporated herein for all purposes.

          14.   Further, U.S. Bank violated Emenyi’s due process rights by selling his Property at

a foreclosure sale on November 7, 2017 without sending Emenyi proper and timely notice of

default, the opportunity to cure the default, and notice of intent to accelerate the debt prior to the

foreclosure sale as required by the Texas Property Code.

          15.   Accordingly, Plaintiff alleges that U.S. Bank wrongfully sold his Property at a

foreclosure sale on November 7, 2017 in violation of the agreements of the parties, the Texas

Property Code, and RESPA.

                             FIRST CAUSE OF ACTION:
                     TORTIOUS INTERFERENCE WITH A CONTRACT
          16.   To the extent not inconsistent herewith, Livingston Emenyi (“Emenyi”)

incorporates by reference the allegations made in paragraphs 1 through 18 as if set forth fully

herein.

          17.   The actions committed by U.S. Bank, N.A. (“U.S. Bank”) constitute a tortuous

interference with a contract because:

                A.      Emenyi had an existing contract subject to interference;

                B.      U.S. Bank willfully and intentionally acted to interfere with the contract;

                C.      That act proximately caused Emenyi’s injury; and

                4.      Caused Emenyi’s actual damages or loss - the loss of his Property.

                                 SECOND CAUSE OF ACTION:
                                   BREACH OF CONTRACT

          18.   To the extent not inconsistent herewith, Livingston Emenyi (“Emenyi”)

incorporates by reference the allegations made in paragraphs 1 through 18 as if set forth fully

herein.
    Case 3:18-cv-00018-B Document 8 Filed 01/30/18                 Page 5 of 10 PageID 151



          19.   The actions committed by U.S. Bank, N.A. (“U.S. Bank”) constitute breach of

contract because:

                A.     There exists a valid, enforceable contract between Emenyi and U.S. Bank;

                B.     Emenyi has standing to sue for breach of contract;

                C.     Emenyi performed, tendered performance, or was excused from performing

                       his contractual obligations;

                D.     U.S. Bank breached their contract; and

                E.     The breach of contract by U.S. Bank caused Emenyi’s injury - the loss of

                       his home.

                                   THIRD CAUSE OF ACTION:
                                    COMMON LAW FRAUD
          20.   To the extent not inconsistent herewith, Livingston Emenyi (“Emenyi”)

incorporates by reference the allegations made in paragraphs 1 through 18 as if set forth fully

herein.

          21.   The actions committed by U.S. Bank, N.A. (“U.S. Bank”) constitute common law

fraud because U.S. Bank made false and material representations to Emenyi when assuring

Emenyi that they would take no action to foreclose on his home while he was in loan modification

status - Emenyi’s account was still being reviewed for a loan modification yet U.S. Bank sold his

Property at a foreclosure sale on November 7, 2017. U.S. Bank knew that the representations were

false or made these representations recklessly, as a positive assertion, and without knowledge of
its truth. In addition, U.S. Bank made these representations with the intent that Emenyi act on

them and Emenyi relied on these representations which caused Emenyi’s injury - the loss of his

home.
    Case 3:18-cv-00018-B Document 8 Filed 01/30/18                  Page 6 of 10 PageID 152



                                FOURTH CAUSE OF ACTION:
                                 PROMISSORY ESTOPPEL

          22.   To the extent not inconsistent herewith, Livingston Emenyi (“Emenyi”)

incorporates by reference the allegations made in paragraphs 1 through 18 as if set forth fully

herein.

          23.   The actions committed by U.S. Bank, N.A. (“U.S. Bank”) constitute promissory

estoppel because:

                A.     U.S. Bank made a promise to Emenyi;

                B.     Emenyi reasonably and substantially relied on the promise to his detriment;

                C.     Emenyi’s reliance was foreseeable by U.S. Bank; and

                D.     Injustice can be avoided only by enforcing U.S. Bank’s promise.

                             FIFTH CAUSE OF ACTION:
                     VIOLATION OF TEXAS PROPERTY CODE §5.065
          24.   To the extent not inconsistent herewith, Livingston Emenyi (“Emenyi”)

incorporates by reference the allegations made in paragraphs 1 through 18 as if set forth fully

herein.

          25.   Pursuant to the provisions of the Texas Property Code, the holder of a note must

ordinarily give notice to the maker of the holder’s intent to accelerate the time for payment as well

as notice of acceleration. If the mortgagee intends to accelerate the maturity of the debt, the notice
must unequivocally inform the mortgagor of the mortgagee’s intention. A proper notice of default

must give the borrower notice that the alleged delinquency must be cured; otherwise, the loan

will be accelerated and the property will go to foreclosure. Prior to a foreclosure action, the

noteholder is also required to give the home owners clear and unequivocal acceleration notice.

Effective acceleration requires two acts: notice of intent to accelerate and notice of acceleration.

          26.   The actions committed by U.S. Bank, N.A. (“U.S. Bank”) constitute a violation of

the Texas Property Code §5.065 because U.S. Bank never sent proper notice of default, the

opportunity to cure the default, and notice of intent to accelerate the debt which would allow U.S.

Bank to foreclose.
    Case 3:18-cv-00018-B Document 8 Filed 01/30/18                   Page 7 of 10 PageID 153



                                   SIXTH CAUSE OF ACTION:
                              VIOLATION OF RESPA/REGULATION X
          27.   To the extent not inconsistent herewith, Livingston Emenyi (“Emenyi”)

incorporates by reference the allegations made in paragraphs 1 through 18 as if set forth fully

herein.

          28.   The Real Estate Settlement Procedures Act (“RESPA”) dictates that “[a] loan

servicer shall exercise reasonable diligence in obtaining documents and information to complete a

loss mitigation application.” 12 C.F.R. § 1024.41 (b)(1). Additionally, a loan servicer must

“[n]otify the borrower in writing within 5 days after receiving the loss mitigation application ...

that the servicer has determined that the loss mitigation application is incomplete”. Id.

§ 1024.41(b)(2)(i)(B).

          29.   Further, RESPA prohibits a loan servicer from making the first notice or

filing required by applicable law for any judicial or non-judicial foreclosure process if the

borrower submits a “complete loss mitigation application” during the 120-day pre-foreclosure

review period or before the servicer has made the first notice of filing. Id. § 1024.41 (f).

Additionally, RESPA prohibits a loan servicer from moving for foreclosure if the borrower

submits a “complete loss mitigation application” after the servicer has made the first notice or

filing but more than 37 days before a foreclosure sale unless:

                (a)      the servicer has sent the borrower a notice that the borrower is not eligible
                         for any loss mitigation option and the appeal process of the pertinent

                         section is not applicable;

                (b)      the borrower has not requested an appeal within the applicable time period,

                         or

                (c)      the borrower’s appeal has been denied. Id. § 1024.41 (f) - (g).

          30.   The actions committed by U.S. Bank, N.A. (“U.S. Bank”) constitute violations of

RESPA because:
    Case 3:18-cv-00018-B Document 8 Filed 01/30/18                    Page 8 of 10 PageID 154



                A.        Emenyi was working with U.S. Bank pursuing loss mitigation options;

                B.        Emenyi submitted a complete loss mitigation application;

                C.        Emenyi never received written notice of denial of his loan modification

                          application;

                D.        Emenyi was never provided a reason why his application was denied;

                E.        Emenyi was never provided the opportunity to appeal that decision prior to

                          U.S. Bank posting the Property for foreclosure sale; and

                F.        U.S. Bank completed the violation by selling Emenyi’s Property at the

                          foreclosure sale on November 7, 2017.

                                  SEVENTH CAUSE OF ACTION:
                                     SUIT TO QUIET TITLE
          31.   To the extent not inconsistent herewith, Livingston Emenyi (“Emenyi”)

incorporates by reference the allegations made in paragraphs 1 through 18 as if set forth fully

herein.

          32.   The actions committed by A&R Texas Properties LLC (“A&R”) necessitate a suit

to quiet title because:

                A.        Emenyi has an interest in specific real property;

                B.        Title to the specific real property is affected by a claim by A&R; and

                C.        The claim, although facially valid, is invalid or unenforceable.
                                            DAMAGES:
                                         ACTUAL DAMAGES

          33.   Plaintiff is entitled to recover his actual damages from U.S. Bank, N.A. and A&R

Texas Properties LLC for which Plaintiff pleads in an amount which does not exceed the

jurisdictional limits of this Court.
    Case 3:18-cv-00018-B Document 8 Filed 01/30/18                   Page 9 of 10 PageID 155



                                        NOMINAL DAMAGES

         34.    Plaintiff is entitled to recover his nominal damages from U.S. Bank, N.A. and

A&R Texas Properties LLC associated with Plaintiff’s cause of action for Violation of

RESPA/Regulation X, for which Plaintiff pleads in an amount which does not exceed the

jurisdictional limits of this Court.

                                       EXEMPLARY DAMAGES

         35.    Plaintiff is entitled to recover his exemplary damages from U.S. Bank, N.A. and

A&R Texas Properties LLC for which Plaintiff pleads in an amount which does not exceed the

jurisdictional limits of this Court.

                                        ATTORNEYS’ FEES

         36.   Plaintiff was forced to employ the undersigned attorneys to represent him and has

agreed to pay them reasonable attorneys’ fees for their services. Plaintiff is entitled to recover his

reasonable attorneys’ fees pursuant to Chapter 38 of the Texas Civil Practices & Remedies Code

for which Plaintiff pleads in an amount which does not exceed the jurisdictional limits of this

Court.

                                              PRAYER

         WHEREFORE, PREMISES CONSIDERED, Plaintiff respectfully requests that upon final

hearing or trial hereof, the Court enter an order rescinding the foreclosure of the Property located

at 249 Westbury Drive, Coppell, TX 75019 which occurred on November 07, 2017 as well as a

judgment in favor of Livingston Emenyi against U.S. Bank, N.A. and A&R Texas Properties

LLC, jointly and severally, for his actual damages, exemplary damages, reasonable attorneys’

fees, all costs of court, and such other and further relief, both general and special, at law or in

equity, to which Plaintiff may be entitled.
   Case 3:18-cv-00018-B Document 8 Filed 01/30/18                Page 10 of 10 PageID 156



                                            Respectfully submitted,


                                                   VILT AND ASSOCIATES, P.C.


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                                            ATTORNEYS FOR PLAINTIFF




                                CERTIFICATE OF SERVICE
     I hereby certify that on January 30, 2018 the foregoing was filed with the Court via the
CM/ECF system and that the Clerk of the Court will forward a copy of same to the following
CM/ECF users:

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                                            /s/ Robert C. Vilt
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